                  Case 6:21-cv-00367-ADA-DTG Document 4 Filed 04/15/21 Page 1 of 2
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Western District of Texas - Waco Division                         on the following
      G Trademarks or         ✔ Patents.
                              G             (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
      6:21-cv-00367                        4/15/2021                                Western District of Texas - Waco Division
PLAINTIFF                                                                    DEFENDANT
U.S. Well Services, Inc. and U.S. Well Services, LLC
                                                                               Halliburton Company and

                                                                               Cimarex Energy Co.

        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 SEE ATTACHED

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                          DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
     Case 6:21-cv-00367-ADA-DTG Document 4 Filed 04/15/21 Page 2 of 2




        Patent No.             Date of Patent          Holder of Patent

8,789,601                07/29/2014               U.S. Well Services, LLC

9,410,410                08/09/2016               U.S. Well Services, LLC

9,611,728                04/04/2017               U.S. Well Services, LLC

9,745,840                08/29/2017               U.S. Well Services, LLC

9,970,278                05/18/2018               U.S. Well Services, LLC

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